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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re                                                 §
                                                      §                                      No. 20-35474
EAGLE PCO LLC, et al.1                                §                                        Chapter 11
                                                      §                              Jointly Administered
                                  Debtor.             §


                         FIRST AMENDED PLAN OF REORGANIZATION
                           FOR SMALL BUSINESS UNDER CHAPTER 11
                                   Dated January 7, 2021


This Plan of Reorganization is submitted to all creditors and interest
holders of the Debtors, Eagle Pressure Control LLC (no. 20-35475) and
Eagle PCO LLC (no. 20-35474), which are being Jointly Administered, en-
titled to vote on the Chapter 11 Plan of Reorganization submitted by
the Debtors pursuant to the Small Business Reorganization Act, codi-
fied in Subchapter V of Chapter 11 of the United States Bankruptcy
Code. 11 U.S.C. §§ 1181–1195. This Plan of Reorganization contains infor-
mation that may affect your decision to vote to accept or reject the
Plan. All creditors and interest holders are urged to read the entire
Plan carefully.

A confirmation hearing for this Plan of Reorganization will be held
in Courtroom 402 at the United States Courthouse, 515 Rusk, 4th Floor,
Houston, TX 77002 on Thursday, February 4, 2021 at 9:00 a.m. CST.

Only holders of allowed claims which are impaired may vote on the
Plan. Impaired classes are those claims in:




1
 The Debtors in these Chapter 11 cases are: (a) Eagle PCO LLC (No. 20-35474) and (b) Eagle Pressure Control LLC
(No. 20-35475).



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     •Class 2F
     •Class 2J
     •Class 3
     •Class 4

Creditors and interest holders entitled to vote on the Plan are urged
to vote in favor of this Plan of Reorganization and to return the com-
pleted ballot to Pendergraft & Simon, LLP, 2777 Allen Parkway, Suite 800,
Houston, TX 77019 not later than Thursday, January 28, 2021. Votes will
be tabulated with respect to the debtor’s Plan and claims will be clas-
sified and distributions in accordance with the Plan.

To the extent the Debtor does not receive sufficient votes for confir-
mation of a consensual Plan, Debtor intends to invoke the cramdown
provisions of Section 1191(b) of the Bankruptcy Code in order to obtain
confirmation of the Plan. Alternatively, the Plan may be withdrawn
and a new Plan submitted.

This Plan incorporates by reference certain documents relating to the
Debtor that are not presented herein or delivered with this Plan, in-
cluding, but not limited to, the Debtor’s Schedules, the Debtor’s State-
ment of Financial Affairs, and the Debtor’s monthly operating reports.
These and all other documents and pleadings filed with the Court per-
taining to this case are available from the Clerk of the Court (515 Rusk,
5th Floor, Houston, TX 77002, Tel. 713-250-5500). Electronic access to
these documents and pleadings is available at http://ecf.txsb.uscourts.gov. A
PACER login will be necessary to view the documents. If you do not have
a PACER login, you may register online at http://pacer.psc.uscourts.gov.




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                                             I.
                       Background for Case Filed Under Subchapter V

A. Description and History of the Debtor’s Business

Eagle Pressure Control LLC filed a voluntary petition under Subchapter V of Chapter 11 of the
United States Bankruptcy Code on November 6, 2020, in case number 20-35475. Its wholly owned
subsidiary, Eagle PCO LLC, also filed a voluntary petition under Subchapter V of Chapter 11 of the
United States Bankruptcy Code, on November 6, 2020, in case number 20-35474.

On November 10, 2020, the Bankruptcy Court entered an Order Directing Joint Administration,
which requires the filing of a single plan for both debtors. (ECF no. 7).

1. Eagle Pressure Control LLC

The Debtor, Eagle Pressure Control LLC, is a limited liability company formed and organized un-
der the laws of the State of Delaware on October 31, 2017. It registered to conduct business in the
State of Texas on November 20, 2017. The sole purpose of Eagle Pressure Control LLC is to serve
as a holding company, and it owns 100 percent of the equity in and is the sole Member of Eagle
PCO LLC.

Other than this investment in Eagle PCO LLC, Eagle Pressure Control LLC owns no other assets,
and it owes a single, secured debt to an insider, Aspen Energy Partners, LLC (“AEP”), the treat-
ment of which is described more fully in Article V of this Plan of Reorganization. (page 20, infra).
This debt, which is a revolving line of credit of up to $5 million, was acquired from Zions Bancor-
poration, N.A. d/b/a Amegy Bank on, or about, June 27, 2019 for the balance then due—
$691,547.79. Between the time of the acquisition of the debt and the Petition Date, AEP allowed
Eagle Pressure Control to draw $2,759,092.68, for financing Eagle PCO LLC’s business operations.

2. Eagle PCO LLC

The Debtor, Eagle PCO LLC, is a limited liability company formed and organized under the laws
of the State of Texas, on December 14, 2017, by converting Navasota Oilfield Services, Inc. to a
limited liability company. Navasota Oilfield Services, Inc. was originally formed as a Texas corpo-
ration on August 13, 2008, and it was purchased by Eagle Pressure Control LLC on, or about, De-
cember 14, 2017.

Eagle PCO is engaged in the design, manufacture, and sale of wellhead and pressure control equip-
ment for the oil and gas production industry. Additionally, it maintains a fleet of frac valves and
ancillary equipment for short-term rental.




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                              Photograph of a typical frac valve stack.

It also oﬀers repair and refurbishment services and provisions service crews to assist in the instal-
lation and operation of wellhead pressure control systems.

Eagle PCO’s primary base of operations is at 5808 FM 3455, Navasota, Texas. It also has leased
facilities in Midland, Texas and Pleasanton, Texas.

Three events in 2020 have contributed to cash shortages which caused the Debtors to seek bank-
ruptcy protection. First, an explosion occurred on January 29, 2020 at the Daniel H. Wendland 1H
oil well in Burleson County, Texas, which was operated by Chesapeake Energy Corporation, or one
of its aﬃliates. At the time of the explosion, Eagle PCO had employees on the site. Eagle PCO
believes that Chesapeake is contractually responsible for all acts and omissions because it was in
control of the well at all material times.

To date, nine lawsuits have been filed by persons who sustained injuries in this explosion, and these
claims have been turned over to Eagle PCO’s insurance carriers. These lawsuits are:

       1. Norma Lynn Maldonado v. Chesapeake Operating, L.L.C; Chesapeake Energy Cor-
          poration, SDS Petroleum Consultants, L.L.C, A&L Hot Oil Service, Inc.; Forbes


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             Energy Services, LTD.; Forbes Energy Services, L.L.C.; CC Forbes, L.L.C.; Eagle
             PCO, LLC, Cause No. DC-20-06809, in the 162nd District Court for Dallas
             County, Texas.

        2. Madison Hendrix, individually and as the personal representative of the Estate of
           Brad Hendrix v. Chesapeake Energy Corporation; CC Forbes, LLC; Forbes Energy
           Services, LLC; Eagle PCO LLC; WildHorse Resource Management Company,
           LLC, Cause No. DC-20-06798, in the 298th District Court for Dallas County,
           Texas.

        3. Omar Balboa v. A&L Hot Oil Services, Inc., SDS Petroleum Consultants, LLC,
           Chesapeake Energy Corporation, Forbes Energy Services, LTD., Forbes Energy Ser-
           vices, LLC, CC Forbes, LLC, Eagle PCO, LLC, Cause No. DC-20-06888, in the
           192nd District Court for Dallas County, Texas.

        4. Joe Eric Cabrera v. Chesapeake Operating, L.L.C.; Chesapeake Energy Corpora-
           tion, SDS Petroleum Consultants, L.L.C; A&L Hot Oil Service, Inc., Eagle PCO,
           LLC, Cause No. DC-20-06894, in the 192nd Judicial District Court for Dallas
           County, Texas.

        5. Kevin Mirelez v. Chesapeake Operating, L.L.C.; Chesapeake Energy Corporation,
           SDS Petroleum Consultants, L.L.C.; A&L Hot Oil Service, Inc.; Eagle PCO, LLC,
           Cause No. DC-20-06884, in the 192nd District for Dallas County, Texas.

        6. Miguel Carrillo v. Chesapeake Operating, L.L.C.; Chesapeake Energy Corporation,
           SDS Petroleum Consultants, L.L.C.; A&L Hot Oil Service, Inc.; Eagle PCO, LLC,
           Cause No. DC-20-06892, in the 95th Judicial District for Dallas County, Texas.

        7. Madison Hendrix v. Chesapeake Energy Corporation, et al., Cause No. DC-20-
           06798, in the 298th District Court of Dallas County, Texas.

        8. Linda Milanovich v. Chesapeake Operating, L.L.C. and Chesapeake Operating Cor-
           poration, Cause No. 29969, in the 335th District Court for Burleson County,
           Texas.

        9. Christopher Wilson v. Chesapeake Energy Corporation, et al., Cause No. 20-15646,
           in the 95th District Court for Dallas County, Texas.

In all of these cases, Eagle PCO is seeking to cover any losses through its insurance coverage and
by seeking indemnity and contribution claims against Chesapeake Energy Corporation and other
tortfeasors. Due to the nature of these claims and the fact that Chesapeake Energy and its aﬃliates
are in their own bankruptcy proceeding,2 it is likely that claims will be made against Eagle PCO’s


2
  In re Chesapeake Energy Corp., No. 20-33233, Jointly Administered, United States Bankruptcy Court, Southern Dis-
trict of Texas.



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Bankruptcy Estate. The most immediate eﬀect of this incident was Eagle PCO’s insurance premi-
ums more than doubled.

Second, 2020 saw a sharp decline in oil prices due to world-wide overproduction. Third, in March
2020, demand for oil collapsed when the world went on lockdown in response to the SARS CoV-2
pandemic.

The Debtor had the ability to sustain its business operations through one or two of these events,
but it could not sustain all three and maintain a positive cash flow without the need for restructur-
ing.

B. Liquidation Analysis

To confirm the Plan, the Court must find that all creditors and equity interest holders who do not
accept the Plan will receive at least as much under the Plan as such claim and equity interest holders
would receive in a Chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit A.

The Debtor does not believe that liquidation under Chapter 7 would be in the best interest of the
creditors and the conversion of the case to a case under Chapter 7 would result in the loss of the
going concern value of the Debtor as well as additional administrative expenses attributable to the
statutory trustee fees and professional fees for professionals that would have to be retained by a
Chapter 7 Trustee.

In a Chapter 7 liquidation, the Debtor believes that all of the proceeds would go to secured creditors
and no unsecured creditors would receive payment.

C. Ability to make future plan payments and operate without further reorganization

The Plan Proponent must also show that it will have enough cash over the life of the Plan to make
the required Plan payments and operate the debtor’s business.

Prior to confirmation, Debtor intends to obtain approval to obtain $600,000 in debtor-in-posses-
sion financing (“DIP financing”) from AEP, which has executed a nonbinding letter of intent to
provide this interim financing. Post confirmation, the Debtor intends to use any remaining DIP
financing in furtherance of eﬀectuating this Plan.

Post-confirmation, AEP will invest $150,000, which will be dedicated to the payment of general
unsecured claims.

On the Eﬀective Date of the Plan, the assets of the Estate, with the exception of cash, cash equiv-
alents, and Retained Claims, will be transferred to a new entity, Talon Pressure Control, LLC. A
projection of its income is attached as Exhibit B. The Debtor does not believe that there will be a
material amount of Disposable Income as that term is defined in the Bankruptcy Code.

In preparing this Plan, the Debtors relied on financial data derived from their books and rec-
ords and various assumptions regarding the Debtors’ business. While the Debtors believe



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that such financial information fairly reflects the financial condition of the Debtors as of
January 7, 2021 and that the assumptions regarding future events reflect reasonable business
judgments, no representations or warranties are made as to the accuracy of the financial in-
formation contained herein or assumptions regarding the Debtors’ business or their future
results or operations. The Debtors expressly caution readers not to place undue reliance on
any forward-looking statements contained herein.

The Debtors are making the statements and providing the financial information contained in
this Plan as of January 7, 2021 unless otherwise specifically noted, and there is no assurance
that the statements contained herein will be correct at any time after such date. Although the
Debtors may subsequently update the information in this Plan, the Debtors have no aﬃrma-
tive duty to do so, and expressly disclaim any duty to publicly update any forward-looking
statements, whether as a result of new information, future events, or otherwise. Holders of
Claims reviewing this Plan should not infer that, at the time of their review, the facts set forth
herein have not changed since this Plan was filed. Information contained herein is subject to
completion, modification, or amendment.

You should consult with your accountant or other financial advisor
if you have any questions pertaining to these projections.


                                                 II.
                                              Summary

This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code) pro-
poses to pay creditors of Eagle Pressure Control, LLC and Eagle PCO LLC (the Debtor) from the
infusion of capital and extension of loans from its majority owner, Aspen Energy Partners, LLC.

This Plan provides for:

       • 1 class of priority claims;

       • 10 classes of secured claims;

       • 1 classes of non-priority unsecured claims; and

       • 1 class of equity security holders

Non-priority unsecured creditors holding allowed claims will receive distributions, which the pro-
ponent of this Plan has valued at approximately 9.76 cents on the dollar. This Plan also provides for
the payment of administrative and priority claims.

All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for infor-
mation regarding the precise treatment of their claim.

Your rights may be aﬀected. You should read these papers carefully and discuss them with
your attorney, if you have one. If you do not have an attorney, you may wish to consult one.


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                                               III.
                             Classification of Claims and Interests

The following are the classes set forth in the Plan, and the proposed treatment that they will receive
under the Plan:

 Class 1                    All allowed claims entitled to priority under 11 U.S.C. § 507(a) (except
                            administrative expense claims under 11 U.S.C. § 507(a)(2) and prior-
                            ity tax claims under 11 U.S.C. § 507(a)(8).

 Class 2A                   The claim of Midland Central Appraisal District, to the extent allowed
                            as a secured claim under 11 U.S.C. § 506.

 Class 2B                   The claim of Grimes County Appraisal District, to the extent allowed
                            as a secured claim under 11 U.S.C. § 506.

 Class 2C                   The claim of the Atascosa County Tax Oﬃce, to the extent allowed as
                            a secured claim under 11 U.S.C. § 506

 Class 2D                   The claim of the Tarrant County Tax Assessor–Collector, to the ex-
                            tent allowed as a secured claim under 11 U.S.C. § 506

 Class 2E                   The claims of Ford Motor Credit Company LLC, to the extent al-
                            lowed as a secured claim under 11 U.S.C. § 506.

 Class 2F                   The claim of Bestway Oilfield, to the extent allowed as a secured claim
                            under 11 U.S.C. § 506.

 Class 2G                   The claim of CIT Bank N.A., to the extent allowed as a secured claim
                            under 11 U.S.C. § 506.

 Class 2H                   The claim of De Lage Landen, to the extent allowed as a secured claim
                            under 11 U.S.C. § 506

 Class 2I                   The claim of Extreme Machining Services, to the extent allowed as a
                            secured claim under 11 U.S.C. § 506

 Class 2J                   The claim of Aspen Energy Partners, LLC, to the extent allowed as a
                            secured claim under 11 U.S.C. § 506.

 Class 3                    All other non-priority unsecured claims allowed under 11 U.S.C.
                            § 502.

 Class 4                    Equity interests of the Debtor.

Certain claims may be in multiple classes.




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                                           IV.
             Treatment of Administrative Expense Claims, Priority Claims, and
                               Quarterly and Court Fees

A. Unclassified claims

Under section § 1123(a)(1), administrative expense claims, and priority tax claims are not in classes.

B. Administrative expense claims

Subject to Court approval of a fee application(s), each holder of an administrative expense claim
allowed under 11 U.S.C. § 503, will be paid in full on the Eﬀective Date of this Plan, in cash, or
upon such other terms as may be agreed upon by the holder of the claim and the Debtor.

Debtor anticipates there will be two administrative expense claims made by: (1) Pendergraft & Si-
mon, LLP, counsel for the Debtor-in-Possession, and (2) Drew McManigle, the Subchapter V
Trustee. Any claims for administrative expenses will require the submission of a fee application and
approval of the said fee application by the Bankruptcy Court before any claim can be paid.

The Debtor anticipates that administrative claims will be as follows:

                                   Claimant                    Amount
                        Pendergraft & Simon, LLP                         tbd
                        Drew McManigle                                   tbd
                        Total                                            tbd


In the event any administrative fee has not been approved by the Court by the Eﬀective Date, the
Debtor will hold such amount in reserve until approval.

C. Priority tax claims

Each holder of a priority tax claim will be paid in in full, on the Eﬀective Date. The Debtor has five
types of priority tax claims described below.

1. Texas Ad Valorem Taxes

Eagle PCO LLC has the following claims for ad valorem taxes:

                                Taxing Authority                               Amount
         Midland County Central Appraisal District                               $40,168.41
         Grimes County Central Appraisal District                                120,559.70
         Atascosa County Tax Oﬃce                                                137,790.58



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                                Taxing Authority                                 Amount
         Tarrant County Tax Assessor-Collector                                       1,105.37
         TOTAL                                                                   $299,624.06


These allowed tax claims are entitled to priority under 11 U.S.C. § 507(a)(8)(B). These allowed tax
claims are also secured by a first-in-priority, statutory lien on all of the Debtor’s assets pursuant to
Tex. Tax Code § 32.01.

Allowed amounts are subject to change because the bar date for the filing of governmental claims
is May 10, 2021.

All ad valorem taxes will be paid in full at the Eﬀective Date. None of the Ad valorem taxes due to
taxing authorities are impaired.

2. New Mexico sales taxes

The New Mexico Taxation and Revenue Department has an allowed tax claim in the amount of
$1,395.78 for unpaid sales taxes on the Petition Date. The allowed amount is subject to change
because the bar date for the filing of governmental claims is May 10, 2021.

This claim is entitled to priority under 11 U.S.C. § 507(a)(8)(C).

All sales taxes will be paid in full at the Eﬀective Date. None of the sales taxes due to taxing author-
ities are impaired.

3. Texas sales taxes

The Texas Comptroller of Public Accounts has an allowed tax claim in the amount of $84,277.48
for unpaid sales taxes on the Petition Date. The allowed amount is subject to change because the
bar date for the filing of governmental claims is May 10, 2021.

This claim is entitled to priority under 11 U.S.C. § 507(a)(8)(C).

All sales taxes will be paid in full at the Eﬀective Date. None of the sales taxes due to taxing author-
ities are impaired.

4. Bluebonnet Ground Water Conservation District

The Bluebonnet Ground Water Conservation District has an allowed claim for $13.38,
representing fees for water well permits. This claim qualifies for payment in the same manner as
priority claims under 11 U.S.C. § 507(a)(8)(E).
The amount of the allowed claim is subject to adjustment because no proof of claim has been filed
to date, and the bar date for governmental claims is May 10, 2021.
On the Eﬀective Date, this claim will be paid in full.


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5. Deferred Payroll Taxes

Under the CARES Act, Eagle PCO LLC deferred the employer’s portion of Social Security payroll
taxes from April 5, 2020 through the Petition Date—November 6, 2020. See Pub. L. no. 116-136,
§ 2302, 134 Stat. 281, 351–52 (2020). At the Petition Date, Eagle PCO LLC estimates the allowed
claim for these deferred Social Security payroll taxes to be $113,879.66. This amount is subject to
change because the bar date for the filing of governmental claims is May 10, 2021.

Following the Petition Date, Eagle PCO LLC ceased deferring payment of Social Security payroll
taxes even though these taxes could continue to be deferred under the CARES Act through De-
cember 31, 2020.

All deferred payroll taxes will be paid in full at the later of: (a) the Eﬀective Date, (b) of the date
such deferred taxes are last due, without penalty, under applicable non-bankruptcy law. None of
the deferred payroll taxes due to the IRS are impaired.

D. Statutory fees

All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the Eﬀective Date
of this Plan have been paid or will be paid on the Eﬀective Date.

E.   Prospective quarterly fees

Under Subchapter V, the quarterly fees described in 28 U.S.C. § 1930(a)(6) are not paid. Nonethe-
less, to the extent any quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) does
accrue, it will be timely paid until the case is closed, dismissed, or converted to another chapter of
the Bankruptcy Code.


                                            V.
                      Treatment of Claims and Interests Under the Plan

Claims and interests shall be treated as follows under this Plan:




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             Class               Impairment                       Treatment

Class 1 – Priority claims        Unimpaired      Debtor has a single priority claim in the
excluding those in Section IV.                   amount of $1,079.04 for wages due to a
                                                 former employee, John Rando, who
                                                 resigned shortly after the Petition Date.
                                                 This claim is entitled to priority under 11
                                                 U.S.C. § 507(a)(4).
                                                 The Debtor does not anticipate having any
                                                 other allowed priority claims.
                                                 To the extent a timely-filed priority claim is
                                                 allowed, such claim will be paid in full on
                                                 the Eﬀective Date of this Plan or the date
                                                 on which such claim is allowed by a final
                                                 non-appealable order.
                                                 Any allowed priority claims in Class 1 will
                                                 be paid after any Court-approved
                                                 administrative expense claims and priority
                                                 tax claims are paid in full.
                                                 Creditors in this class will receive 100
                                                 percent of their allowed claims.

Class 2A – Secured claim         Unimpaired      This creditor has an allowed claim for
of Midland Central Appraisal                     $40,168.41, which is secured by all of
District                                         Eagle PCO LLC’s taxable personal
                                                 property located within Midland County,
                                                 Texas under Tex. Tax Code § 32.01.
                                                 This claim also qualifies for payment in the
                                                 same manner as priority claims under 11
                                                 U.S.C. § 507(a)(8)(B).
                                                 The amount of the allowed claim is subject
                                                 to adjustment because proofs of claims
                                                 have not been filed by all taxing authorities
                                                 in which Midland Central Appraisal
                                                 District collects taxes for, and the bar date
                                                 for governmental claims is May 10, 2021.
                                                 On the Eﬀective Date, this claim will be
                                                 paid in full.




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           Class              Impairment                      Treatment

Class 2B – Secured claim      Unimpaired      This creditor has an allowed claim for
of Grimes County Appraisal                    $120,559.70, which is secured by all of
District                                      Eagle PCO LLC’s taxable personal
                                              property located within Grimes County,
                                              Texas under Tex. Tax Code § 32.01.
                                              This claim also qualifies for payment in the
                                              same manner as priority claims under 11
                                              U.S.C. § 507(a)(8)(B).
                                              On the Eﬀective Date, this claim will be
                                              paid in full.

Class 2C – Secured claim      Unimpaired      This creditor has an allowed claim for
of Atascosa County Tax Oﬃce                   $137,790.58, which is secured by all of
                                              Eagle PCO LLC’s taxable personal
                                              property located within Atascosa County,
                                              Texas under Tex. Tax Code § 32.01.
                                              This claim also qualifies for payment in the
                                              same manner as priority claims under 11
                                              U.S.C. § 507(a)(8)(B).
                                              The amount of the allowed claim is subject
                                              to adjustment because no proof of claim
                                              has been filed to date, and the bar date for
                                              governmental claims is May 10, 2021.
                                              On the Eﬀective Date, this claim will be
                                              paid in full.

Class 2D – Secured claim      Unimpaired      This creditor has an allowed claim for
of Tarrant County Tax                         $1,105.37, which is secured by all of Eagle
Assessor–Collector                            PCO LLC’s taxable personal property
                                              located within Tarrant County, Texas
                                              under Tex. Tax Code § 32.01.
                                              This claim also qualifies for payment in the
                                              same manner as priority claims under 11
                                              U.S.C. § 507(a)(8)(B).
                                              The amount of the allowed claim is subject
                                              to adjustment because no proof of claim
                                              has been filed to date, and the bar date for
                                              governmental claims is May 10, 2021.
                                              On the Eﬀective Date, this claim will be
                                              paid in full.


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           Class           Impairment                      Treatment

Class 2E – Secured claim    Unimpaired      This creditor has an allowed claim for
of Ford Motor Credit                        $1,125,771.92, which is secured by the
Company                                     motor vehicles listed in Exhibit D.
                                            There was no pre-petition monetary
                                            default, and the Debtor has been making all
                                            regular monthly installment payments as
                                            adequate protection following the Petition
                                            Date. See Order dated Dec. 22, 2020 (ECF
                                            no. 47).
                                            On the Eﬀective Date, Talon Pressure
                                            Control, LLC will continue making
                                            payments in accordance with the pre-
                                            petition contracts between the Debtor and
                                            the Creditor, and the Creditor will retain
                                            its purchase-money security interests.




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           Class           Impairment                         Treatment

Class 2F – Secured claim   Unimpaired as     This creditor has an allowed claim for
of Bestway Oilfield          to secured      $270,976.04, which is secured by a lien on
                             amounts/        24 valves as set forth in a UCC-1 financing
                           Impaired as to    statement filed December 24, 2019. Per the
                             unsecured       proof of claim, the value of this collateral is
                              amounts        $168,000.00.
                                             Debtor intends to object to this proof of
                                             claim. Debtor believes there is $42,000.00
                                             due on an installment agreement for the
                                             purchase of 24 valves as described above,
                                             and the value of this collateral is $27,000.
                                             The remaining claim of $228,976.04
                                             should be a general, unsecured claim for
                                             various invoices from Jan. 20, 2020–Oct.
                                             22, 2020.
                                             Subject to amounts ultimately allowed
                                             under an amended claim or order of the
                                             Court, Talon Pressure Control, LLC will
                                             pay $27,000 after the Eﬀective Date,
                                             representing the value of the collateral, at
                                             which time, the Debtor will be entitled to a
                                             release of any lien.
                                             The remaining allowed claim will be
                                             treated as a general, unsecured claim in
                                             Class 4.
                                             This claim is unimpaired to the extent of
                                             the value of the collateral securing
                                             payment, and this claim is impaired to the
                                             extent the amount of the allowed claim
                                             exceeds the value of the collateral.

Class 2G – Secured claim    Unimpaired       This creditor has an allowed claim for
of CIT Bank N.A.                             $27,410.25, which is secured by a motor
                                             vehicle lien on a 2018 Ford F250 truck
                                             (VIN# 1FT7W2BTXJEC26423). The
                                             value of the collateral is $27,410.25.
                                             On the Eﬀective Date, the Debtor will
                                             surrender the collateral to the Creditor if
                                             the collateral has not already been
                                             surrendered.



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           Class                Impairment                     Treatment

Class 2H – Secured claim        Unimpaired      This creditor has an allowed claim for
of De Lage Landen                               $324,163.34, which is secured by certain
                                                tangible and intangible personal property
                                                described in a UCC-1 financing statement
                                                filed January 29, 2019.
                                                The amount of the allowed claim and the
                                                value of the collateral is subject to
                                                adjustment because no proof of claim has
                                                been filed to date, and the bar date for
                                                claims is March 8, 2021.
                                                There was no pre-petition monetary
                                                default, and the Debtor has been making all
                                                regular monthly installment payments as
                                                adequate protection following the Petition
                                                Date.
                                                On the Eﬀective Date, Talon Pressure
                                                Control, LLC will continue making
                                                payments in accordance with the pre-
                                                petition contracts between the Debtor and
                                                the Creditor, and the Creditor will retain
                                                its purchase-money security interest.

Class 2I – Secured claim        Unimpaired      This creditor has an allowed claim for
of Extreme Machining Services                   $33,668.76, which is secured by equipment
                                                described in UCC-1 financing statements
                                                filed April 25, 2018 and June 25, 2018.
                                                The amount of the allowed claim and the
                                                value of the collateral is subject to
                                                adjustment because no proof of claim has
                                                been filed to date, and the bar date for
                                                claims is March 8, 2021.
                                                Any pre-petition or post-petition monetary
                                                default will be cured on the Eﬀective Date.
                                                On the Eﬀective Date, Talon Pressure
                                                Control, LLC will continue making
                                                payments in accordance with the pre-
                                                petition contracts between the Debtor and
                                                the Creditor, and the Creditor will retain
                                                its security interest.




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            Class           Impairment                       Treatment

Class 2J – Secured claim     Impaired       Aspen Energy Partners, LLC has an
of Aspen Energy Partners,                   allowed, secured claim against Eagle
LLC                                         Pressure Control LLC in the amount of
                                            $3,450,640.47. Collateral for this claim is a
                                            lien on all assets of Aspen Energy Partners,
                                            LLC, which is Eagle PCO LLC.
                                            The amount of the allowed claim and the
                                            value of the collateral is subject to
                                            adjustment because no proof of claim has
                                            been filed to date, and the bar date for
                                            claims is March 8, 2021.
                                            For collateral that is transferred to Talon
                                            Pressure Control, LLC, the lien on such
                                            collateral shall continue in eﬀect.
                                            Otherwise, the lien on collateral that
                                            remains part of the Estate shall be stripped
                                            of any lien or encumbrance.
                                            On the Eﬀective Date, this debt will be
                                            converted to equity ownership in the
                                            reorganized Debtor.

Class 3 – All other non-     Impaired       All allowed general unsecured claims will
priority unsecured claims                   be paid a pro rata share of their claims, in
                                            one, or more, deferred cash payments
                                            upon the later of the Eﬀective Date of this
                                            Plan or the date on which such claim is
                                            allowed by a final non-appealable order. A
                                            listing of all claims in Class 3 are shown in
                                            Exhibit C.
                                            Claims in Class 4 will be paid after claims
                                            in Classes 1, 2, and 3 are paid in full.
                                            Moreover, claims in Class 4 include
                                            numerous disputed and/or unliquidated
                                            claims.
                                            Creditors in this class are projected to
                                            receive 9.76 percent of their allowed claims
                                            on a pro rata basis.




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              Class                  Impairment                        Treatment

 Class 4 – Equity security             Impaired        The existing equity membership of the
 holders of the Debtor                                 Debtor will be terminated. New equity
                                                       membership in will be granted to Aspen
                                                       Energy Partners, LLC in exchange for the
                                                       conversion of its existing debt to equity
                                                       and cash investments for the funding of
                                                       this Plan of Reorganization.


                                             VI.
                             Allowance and Disallowance of Claims

A. Disputed claims

A Disputed Claim is a claim that has not been allowed or disallowed by a final, non-appealable order,
and as to which either:
       1. a proof of claim has been filed or deemed filed, and the Debtor or another party
          in interest has filed an objection; or

       2. no proof of claim has been filed, and the Debtor has scheduled such claim as
          disputed, contingent, or unliquidated.

B. Objections to claims

Claims objections must be made by:

       1. For a proof of claim filed prior to the Eﬀective Date, not later than 30 days after
          the Eﬀective Date; or

       2. For a proof of claim filed after the Eﬀective Date but before the Bar Date, not
          later than 30 days after the date the proof of claim is filed.

C. Interim distributions on allowed claims

Interim distributions on allowed claims will be made a on a pro rata basis based all undisputed,
allowed claims, plus the amounts claimed in any proofs of claims that are subject to claim objec-
tions. Once all claims objections are resolved, a final distribution on allowed claims will be made.

D   Delay of distributions on a disputed claim

No distribution will be made on account of a disputed claim unless such claim is allowed by a final,
non-appealable order.




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E.   Anticipated claims objections

1. Objections related to personal injury claims

Numerous personal injury claims have been asserted against Eagle PCO arising from an oil well
explosion on January 29, 2020 in Burleson County, Texas. Claimants include, but are not neces-
sarily limited to: (a) Joe Eric Cabrera, (b) Kevin Lee Mirelez, (c) Linda Milanovich, (d) Madison
Hendrix, (e) Miguel Carillo, (f ) Norma Lynn Maldonado, and (g) Omar Balboa.

All of these claims are disputed as to liability and all claimed damages are unliquidated. Eagle PCO
believes that Chesapeake Energy Corporation, or one of its aﬃliates, is contractually liable for all
losses and injuries because it was the operator of the subject well. Additionally, Eagle PCO may
seek indemnity from other third parties, including insurers. Moreover, the nature of the damages
that are being claimed are unliquidated.

To date, none of these claimants has filed a proof of claim; however, the Debtor anticipates object-
ing to any proof of claim that is filed.

2    Other anticipated claim objections

The Debtor anticipates filing the following claim objections:

        1. Creditor, Grant Blake, filed a proof of claim seeking unliquidated damages in the
           amount of $300,000. Debtor anticipates filing an objection to the proof of claim
           the basis that liability is disputed and the claimed damages are unliquidated.

        2. Creditor, Bestway Oilfield, filed a proof of claim seeking a secured claim in the
           amount of $270,966.04, which is secured by 24 valves with an alleged value of
           $168,000.00. Debtor objects to the classification of this claim as well as the
           value of the collateral, and Debtor believes: (a) only $42,000.00 of the claim is
           potentially a secured claim related to a transaction in 2019; (b) the value of the
           collateral is $27,000.00; and (c) the remaining $228,976.04 is a general, unse-
           cured claim for unpaid invoices that came due during 2020.

The Debtor reserves the right to file other claim objections, especially in response to proofs of
claims that may be filed prior to the applicable Claims Bar Dates.

F.   Settlement of disputed claims

The Debtor will have the power and authority to settle and compromise a disputed claim with court
approval and compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure.




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                                            VII.
                  Provisions for Executory Contracts and Unexpired Leases

A. Assumed executory contracts and unexpired leases

The Debtor will assume the following executory contracts and unexpired leases:

      The Master Service Agreements (“MSA”) listed in Exhibit F. These MSAs are the
      exclusive means by which the Debtor conducts business with its customers, and the
      MSAs govern all aspects of the relationship between the Debtor and its customers,
      from the scope of work to required insurance coverage. Upon information and belief,
      the Debtor is no in default under any MSA listed in Exhibit F.

Moreover, on the Eﬀective Date, these executory contracts and unexpired leases will be assigned
to Talon Pressure Control, LLC.

Objections to the assumption and assignment of the foregoing unexpired leases and/or executory
contracts, the proposed cure of any defaults, or the adequacy of assurance of performance must be
filed and served within the deadline for objecting to confirmation of the Plan, unless the Court has
set an earlier time.

B. Rejected executory contracts and unexpired leases

The Plan constitutes a motion to reject any other executory contracts or unexpired leases not listed
in Paragraph (A), supra. If the rejection by the Debtor pursuant to the Plan or otherwise of an exec-
utory contract or unexpired lease results in a Claim that is not theretofore evidenced by a timely
proof of Claim or a proof of Claim that is deemed to be filed timely under applicable law, then such
Claim will be forever barred and unenforceable against the Debtor’s Bankruptcy Estate, unless a
proof of Claim is filed with the clerk of the Court and served on counsel for the Debtor within thirty
(30) days after entry the Confirmation Order.

Objections to the proposed rejection of any executory contract or unexpired lease must be filed and
served within deadline for objecting to confirmation of the Plan, unless the Court has set an earlier
time.


                                            VIII.
                                Post-Confirmation Management

Post-Confirmation, management of the Debtor shall be vested in those Oﬃcers and Managers ex-
isting on the Petition Date.




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                                             IX.
                             Means for Implementation of the Plan

A. Financial Commitment by Aspen Energy Partners, LLC

Aspen Energy Partners, LLC (“AEP”) is committed to the funding described in Exhibit E and
more fully herein.

1. DIP Financing

Prior to the Confirmation Date, AEP will provide debtor-in-possession financing, subject to the
entry of an Order allowing the same, in the amount of $600,000. This financing is intended for the
financing of the Debtor’s operations from January 1, 2021 through the Eﬀective Date and to assure
Debtor’s ability to pay those claims in Classes 1 through 2 which must be paid in full by the Eﬀective
Date.

2. Capital Contributions

Upon the Eﬀective Date, AEP will pay Debtor $150,000 for payment of allowed claims in Classes
3 and 4.

B. Valuation of Collateral

For claims in Classes 2A through 2J, it will be necessary for the Court to value the collateral prior
to, or at, Confirmation. If a timely proof of claim is filed, the amount of the claim will be determined
through the claims allowance process. Otherwise, the amount scheduled in this Plan will control.
If the Court orders a diﬀerent amount than is shown above as “Collateral Value,” the Plan shall be
deemed amended to reflect that Collateral Value without the requirement of the filing of an
amended Plan.

C. Retained claims

Except as otherwise provided in the Plan, all causes of action that the Debtor and the Estate may
hold against any person or entity shall be retained by the Bankruptcy Estate and shall be prosecuted
the Debtor-in-Possession, after the Eﬀective Date, to the extent necessary to pay all administrative
expense claims, priority tax claims, allowed claims in Classes 1 through 3.

1. Preferences

Pursuant to the Bankruptcy Code, the Debtor may recover certain preferential transfers of prop-
erty, including cash, made while insolvent during the 90 days immediately prior to the filing of the
petition with respect to pre-existing debts, to the extend the transferee received more than it would
have in respect to the pre-existing debt had the Debtor been liquidated under Chapter 7 of the
Bankruptcy Code. In the case of “insiders,” the Bankruptcy Code provides for a one-year look back
preference period. There are certain defenses these actions such as transfers made in the ordinary




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course of the Debtor’s business. Additionally, a defense may exist if the transferee extended credit
after the transfer.

Potential recoveries of preference payments may exist, and the Reorganized Debtor retains the right
to pursue those recoveries post-confirmation.

2. Fraudulent transfers

Under the Bankruptcy Code and state law, the Debtor may recover certain transfers of property,
including the grant of a security interest in property, made while insolvent or which rendered it
insolvent.

Potential recoveries of fraudulent transfers may exist, and the Reorganized Debtor retains the right
to pursue those recoveries post-confirmation.

3. Indemnity and contribution claims

The Debtor further retains the right to pursue all claims for indemnity and contribution from Ches-
apeake Energy Corporation, and its aﬃliates, as well as C C Forbes Company, LOP, A&L Hot Oil
Service, Inc., SDS Petroleum Consultants, LLC, and any of their insurers in regards to the January
29, 2020 fire and explosion described in Section I(2), supra.

D. Distributions to Holders of Allowed Claims

1. Distributions by Debtor under a consensual Plan

If the Plan is confirmed as a consensual plan, the service of the Subchapter V Trustee shall termi-
nate and all Plan payments of allowed claims shall be made by the Debtor, and the Debtor shall file
periodic reports with the Court detailing the monies coming into the Estate and being paid out to
creditors.

2. Distributions by Subchapter V Trustee under a non-consensual Plan

If the Plan is confirmed as a nonconsensual plan, the Subchapter V Trustee shall make all payments
to holders of allowed claims.

3. Distribution Process

Distributions to holders of Allowed Claims will be made to the address of each such holder as set
forth on the proof of claims filed by these holders of Allowed Claims or the last known address if
no proof of claim was filed, unless Debtor received written notification of a change in address. If
the holder’s Distribution is returned undeliverable, it will be treated as a disputed claim. Debtor or
the Subchapter V Trustee will file a notice of undeliverable Distribution with the Court within 30
days of the returned Distribution. All claims for undeliverable Distributions must be made no later
than 45 days from the date of the filing of the notice, and after such date, the unclaimed Distribution
will be distributed to holders of Allowed Claims on a pro rata basis.



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Checks issued with respect to Distributions for Allowed Claims will be null and void if not negoti-
ated 90 days after the date of issuance. Distributions with respect to unnegotiated checks will
treated as a disputed claim. Debtor or the Subchapter V Trustee will file a notice of undeliverable
Distribution with the Court within 30 days of the returned Distribution. All claims for undelivera-
ble Distributions must be made no later than 45 days from the date of the filing of the notice, and
after such date, the unclaimed Distribution will be distributed to holders of Allowed Claims on a
pro rata basis.

E.   Surrender of Collateral

The following collateral will be surrendered to CIT Bank, N.A. in satisfaction of its allowed claim,
by the Eﬀective Date, if such surrender has not already taken place:

       2018 Ford F250 truck (VIN 1FT7W2BTXJEC26423)


                                                X.
                                        General Provisions

A. Definitions and rules of construction

The definitions and rules of construction set forth in 11 U.S.C. §§ 101 and 102 shall apply when
terms defined or construed in the Code are used in this Plan and they are supplemented by the
following definitions.
“Administrative Claim” or “Administrative Priority Claim” means a Claim that is entitled to
priority under 11 U.S.C. §§ 326, 327, 330, 503(b)(1)–503(b)(9), 506(c), or 1103 asserted in this case,
which Claims are described in Section VI of this Disclosure Statement and treated in Section VI of
this Disclosure Statement and Plan.

“Administrative Claim Bar Date” means the date set by the Court by which administrative claims
entitled to priority under 11 U.S.C. §§ 326, 327, 330, 503(b), 506(c), or 1103 asserted in this case,
including substantial contribution claims, must be filed. Debtor will request that the Court set the
Administrative Claim Bar Date by separate order of the Court.

“Allowed Claim” means a Claim or any portion thereof:

       1. that has been allowed by a Final Order,

       2. that either has been Scheduled as a liquidated, non-contingent, undisputed
          Claim in an amount greater than zero in the Debtor’s Schedules, as the same
          may from time to time be amended in accordance with the Bankruptcy Code,
          Bankruptcy Rules or order of the Bankruptcy Court, or is the subject of a timely
          filed proof of Claim as to which either no objection to its allowance has been
          filed (either by way of objection or amendment to the Schedules) within the pe-
          riods of limitation fixed by the Bankruptcy Code or by any order of the



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           Bankruptcy Court, or any objection to its allowance has been settled, waived
           through payment, or withdrawn, or has been denied by a Final Order, or

       3. that is expressly allowed in a liquidated amount in the Plan; provided, however
          that with respect to an administrative claim.

“Allowed Claim” further means an administrative claim as to which a timely request for payment
has been made in accordance with this Plan—if such written request is required—or other admin-
istrative claim, in each case as to which:

       1. a timely objection has not been filed, or

       2. a timely objection is filed, and such objection has been settled, waived through
          payment, or withdrawn, or has been denied by a Final Order.

“Claim” means a claim against any of the Debtor’s Bankruptcy Estate, whether or not asserted,
as defined in 11 U.S.C. § 101(5).

“Claim Bar Date” means the last date holders of non-administrative claims that are not govern-
mental units may file claims against the Debtor’s Bankruptcy Estate—March 8, 2021.

“Confirmation” means entry by the Bankruptcy Court of the Confirmation Order confirming this
Plan.

“Confirmation Date” means the date of entry by the Bankruptcy Court of the Confirmation Or-
der.

“Confirmation Order” means the order entered by the Bankruptcy Court confirming the Plan.

“Disposable Income” means the income that is received by the Debtor and that is not reasonably
necessary to be expended for the payment of expenditures necessary for the continuation, preser-
vation, or operation of the business of the Debtor.

“Eﬀective Date” means the date when the Confirmation Order becomes a Final Order.

“Final Order” means an order or judgment of the Bankruptcy Court, as entered on the docket in
the Debtor’s Bankruptcy Case, the operation or eﬀect of which has not been stayed, reversed, or
amended and as to which order or judgment (or any revision, modification, or amendment thereof )
the time to appeal or seek review or rehearing has expired and as to which no appeal or petition for
review or rehearing was filed or, if filed, remains pending.

“Government Claim Bar Date” means the last date holders of non-administrative claims that are
governmental units may file claims against the Debtor’s Bankruptcy Estate—May 10, 2021.

“Impaired” means, when used with reference to a Claim or Equity Interest, a Claim or Equity
Interest that is impaired within the meaning of 11 U.S.C. § 1124.



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“Lawsuits” mean any, or all, of the lawsuits listed on Article I(A)(2), see pages 7–8, supra, as well
as any other claims arising from, or related to, the incident of January 29, 2020 in Burleson County,
Texas at the Daniel H. Wendland 1H oil well, which was operated by Chesapeake Energy Corpora-
tion, or one of its aﬃliates.

“Priority Claim” means a Claim asserted under 11 U.S.C. §§ 507(a)(3)–507(a)(10) against the
Debtor’s Bankruptcy Estate.

“Secured Claim” means a Claim, other than a setoﬀ claim, that is secured by an encumbrance, or
the proceeds of the sale of such property, in which the Debtor has an interest, to the extent of the
value, as of the eﬀective date or such later date as is established by the Bankruptcy Court, of such
interest or encumbrance as determined by a Final Order of the Bankruptcy Court pursuant to 11
U.S.C. § 506 or as otherwise agreed upon in writing by Debtor and the holder of such Claim.

“Subchapter V Trustee” means the Trustee appointed pursuant to 11 U.S.C. § 1183. In this case,
the United States Trustee appointed Drew McManigle to serve as Subchapter V Trustee.

“Unimpaired Claim” means a claim that is not an impaired claim.

“Unsecured Claim” shall mean a claim that is not entitled to priority under 11 U.S.C. §§ 507(a)(1)–
507(a)(9), and includes deficiency claims of any of the secured creditors.

B. Effective Date

The eﬀective date of this Plan is the first business day following the date that is 14 days after the
entry of the Confirmation Order. If, however, a stay of the Confirmation Order is in eﬀect on that
date, the eﬀective date will be the first business day after the date on which the stay expires or is
otherwise terminated

C. Severability

If any provision in this Plan is determined to be unenforceable, the determination will in no way
limit or aﬀect the enforceability and operative eﬀect of any other provision of this Plan.

D. Binding effect

The rights and obligations of any entity named or referred to in this Plan will be binding upon and
will inure to the benefit of the successors or assigns of such entity.

E.   Headings

The headings contained in this Plan are for convenience of reference only and do not aﬀect the
meaning or interpretation of this Plan.




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F.   Controlling effect

Unless a rule of law or procedure is supplied by federal law (including the Code or the Federal
Rules of Bankruptcy Procedure), the laws of the State of Texas govern this Plan and any agree-
ments, documents, and instruments executed in connection with this Plan, except as otherwise
provided in this Plan.

G. Retention of jurisdiction

Under 11 U.S.C. §§ 105(a) and 1142, the Court shall retain exclusive jurisdiction over all matters
arising out of, and related to, the Chapter 11 Case and the Plan to the fullest extent permitted by
law, including, among other things, jurisdiction to:

       a. Allow, disallow, determine, liquidate, classify, estimate or establish the priority
          or secured or unsecured status of any Claim or Interest, including the resolution
          of any request for payment of any Administrative Claim or Priority Claim or the
          resolution of any objections to the allowance or priority of Claims or Interest;

       b. Hear and determine all applications for compensation and reimbursement of ex-
          penses of Administrative Claims;

       c. Hear and determine all matters with respect to the assumption or rejection of
          any executory contract or unexpired lease to which the Debtor is a party or with
          respect to which the Debtor may be liable, including, if necessary, the liquida-
          tion or allowance of any Claims arising therefrom;

       d. Eﬀectuate performance of and payments under the provisions of the Plan;

       e. Enter such orders as may be necessary or appropriate to execute, implement, or
          consummate the provisions of the Plan, and all contracts, instruments, releases,
          and other agreements or documents created in connection with the Plan, the
          Disclosure Statement or the Confirmation Order;

       f. Hear and determine disputes arising in connection with the interpretation, im-
          plementation, consummation, or enforcement of the Plan, including disputes
          arising under agreements, documents or instruments executed in connection
          with the Plan;

       g. Consider any modifications of the Plan, cure any defect or omission, or reconcile
          any inconsistency in any order of the Bankruptcy Court, including, without lim-
          itation, the Confirmation Order;

       h. Issue injunctions, enter and implement other orders, or take such other actions
          as may be necessary or appropriate to restrain interference by any entity with
          implementation, consummation, or enforcement of the Plan or the Confirma-
          tion Order;


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       i. Enter and implement such orders as may be necessary or appropriate if the Con-
          firmation Order is for any reason reversed, stayed, revoked, modified, or va-
          cated;

       j.   Hear and determine any matters arising in connection with or relating to the
            Plan, the Disclosure Statement, the Confirmation Order or any contract, instru-
            ment, release, or other agreement or document created in connection with the
            Plan, the Disclosure Statement or the Confirmation Order;

       k. Enforce all orders, judgments, injunctions, releases, exculpations, indemnifica-
          tions and rulings entered in connection with the Debtor’s Bankruptcy Case;

       l. Hear and determine matters concerning state, local, and federal taxes in accord-
          ance with 11 U.S.C. §§ 346, 505, and 1146;

       m. Hear and determine all matters related to the property of the Debtor’s Bank-
          ruptcy Estate from and after the Consummation Date;

       n. Hear and determine such other matters as may be provided in the Confirmation
          Order and as may be authorized under the provisions of the Bankruptcy Code;
          and

       o. Enter a final decree closing the Debtor’s Bankruptcy Case.


                                                 XI.
                                      Effect of Confirmation

Upon confirmation, the provisions of this Plan shall bind all Creditors and Interest Holders,
whether or not they accept the Plan. On or after the Eﬀective Date, all holders of Claims shall be
precluded and enjoined from asserting any Claim (i) against the Debtor based on any transaction
or other activity of any kind that occurred prior to the Confirmation Date except as permitted under
the Plan and (ii) any derivative claims, including against third parties asserting alter ego claims,
fraudulent transfer claims or any other type of successor liability.

Except as expressly provided in the Plan or Confirmation Order, all persons who have held, hold,
or may hold Claims against the Debtor are permanently enjoined on or after the Eﬀective Date from
(i) commencing or continuing in any matter any action or other proceeding of any kind against the
Debtor, or its property, with respect to any such Claim, (ii) the enforcement, attachment, collection
or recovery by any manner or means of any judgment, award, decree or order with respect to any
such Claim against the Debtor or its property, (iii) creating, perfecting, or enforcing any encum-
brance of any kind against the Debtor or its property with respect to such claim, (iv) asserting any
right of subrogation of any kind against any objection due to the Debtor or its property with respect
to any such claim, and (v) asserting any right of setoﬀ or recoupment against the Debtor kind
against the Debtor. Unless otherwise provided in the Plan or by order of the Bankruptcy Court, all
injunctions or automatic stays provided for in these cases pursuant to section 106, if any, or section


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362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date will remain
in full force and eﬀect until the Eﬀective Date.


                                               XII.
                                           No Discharge

In accordance with 11 U.S.C. § 1141(d)(3), the Debtor will not receive any discharge of debt in this
bankruptcy case.




                                               XIII.
                                          Other Provisions

A. General

Except as otherwise expressly provided in the Plan, all entities who have held, hold or may hold
Claims against, or Interest in, the Debtor’s Bankruptcy Estate or the Debtor will be permanently
enjoined, on and after the Consummation Date, from (i) commencing or continuing in any manner
any action or other proceeding of any kind with respect to any such Claim, (ii) the enforcement,
attachment, collection or recovery by any manner or means of any judgment, award, decree or or-
der against the Debtor or the Debtor’s Bankruptcy Estate, (iii) creating, perfecting or enforcing any
encumbrance of any kind against the Debtor or the Debtor’s Bankruptcy Estate on account of any
such Claim and (iv) asserting any right of setoﬀ, subrogation or recoupment of any kind against any
obligation due from the Debtor or the Debtor’s Bankruptcy Estate on account of any such Claim;
provided, however, notwithstanding any provision of the Plan to the contrary, each holder of a
Claim shall be entitled to enforce his, her or its rights under the Plan and Plan Documents.

B. Injunctions related to Debtor’s members

The members comprising the interest holders in Class 4 are prohibited from making any changes
to the management of the Debtor until all provisions of the Confirmed Plan have been satisfied.

Until the completion of all payments required under the Plan, if a distribution is made to a share-
holder for the purpose of paying the Debtor’s federal income taxes, the Debtor shall file a notice of
such proposed distribution, including the amount of such proposed distribution and a copy of the
applicable IRS Form K-1s with the Court and serve a copy on those creditors entitled to notice
under Bankruptcy Rule 9013 and applicable Bankruptcy Local Rules. If no objection is made within
14 days, such distribution shall be allowed without further Order of the Court.

C. Exculpation and Limitation of Liability

Neither the Debtor’s Bankruptcy Estate, nor the Debtor, nor any present or former employees,
advisors, attorneys, or agents will have or incur any liability to any holder of a Claim or an Interest,



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or any other party in interest, or any of their respective agents, employees, representatives, financial
advisors, attorneys, or aﬃliates, or any of their successors or assigns, for any act or omission in
connection with, relating to, or arising out of, the solicitation of votes to accept the Plan, the
Debtor’s Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of the Plan,
or the administration of the Plan or the property to be distributed under the Plan, except for their
willful misconduct or as provided by the Plan or the Plan Documents, and in all respects shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and responsibili-
ties under the Plan.

No holder of a Claim or Interest, no other party in interest, none of their respective agents, em-
ployees, representatives, financial advisors, attorneys, or aﬃliates, and no successors or assigns of
the foregoing, will have any right of action against the Debtor’s Bankruptcy Estate or the Debtor,
or any of their respective present or former directors, oﬃcers, employees, advisors, attorneys, or
agents, for any act or omission in connection with, relating to, or arising out of the solicitation of
votes to accept the Plan, or the pursuit of confirmation of the Plan, or the administration of the
Plan or the property to be distributed under the Plan, except as provided by the Plan or by law.

D. Vesting of Assets

With the exception cash, cash equivalents, and Retained Claims, all property of the Estate shall
vest with a new entity, Talon Pressure Control, LLC, a Delaware limited liability company, upon
Confirmation of the Plan, free and clear of all liens, claims, and encumbrances except for those
liens that are validly perfected by a purchase-money or other contractual lien, perfected under ap-
plicable non-bankruptcy law prior to the Petition Date, and any statutory lien granted to a govern-
ment unit for taxes, permits, or other fees. Such liens that survive include, but are not necessarily
limited to, validly perfected motor vehicle liens, validly perfected UCC-1 financing statements, val-
idly perfected real estate deeds of trust and mortgage loans, and tax liens. No claim, lien, or en-
cumbrance arising from the Lawsuits or any other unliquidated claim made in any contested matter
or adversary proceeding in the Bankruptcy Court, a civil action in the District Court, or in any legal
action in a state court shall attach to any of the assets vesting with Talon Pressure Control, LLC.

The sole source of any recovery of any claimant through the Lawsuits shall be from assets of the
Estate.

E.   Employment of professionals after the Effective Date

Subject to the approval of the Court under the standards set forth in 11 U.S.C. § 327, the reor-
ganized Debtor may employ professionals to assist it in eﬀectuating the Confirmed Plan.

F.   Final Decree

Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of Bank-
ruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in the Plan
Confirmation Order, shall file a motion with the Court to obtain a final decree to close the case.
Alternatively, the Court may enter such a final decree on its own motion.



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G. Reservations of right to amend Plan

The Debtor reserves the right to amend this Plan at any time prior to Confirmation in accordance
with 11 U.S.C. § 1193(a). The Debtor reserves all rights to amend this Plan after Confirmation in
accordance with 11 U.S.C. §§ 1193(b) and 1193(c).

H. Alternative Plans of Reorganization

The proposed Plan aﬀords the holders of Claims the maximum potential for realization of the Debt-
or's assets and is in the best interest of the holders. If the Plan is not confirmed, theoretical alter-
natives include (i) continuation of the Chapter 11 case; (ii) alternative plans of reorganization;
(iii) liquidation of the Debtor under Chapter 7; and (iv) dismissal of the Chapter 11.

If the Plan is not confirmed, other parties in interest could attempt to propose a diﬀerent plan or
plans. However, such plans, might involve other forms of reorganization or liquidation of the
Debtor’s operations and assets. Any other alternative plans, however, would likely result in addi-
tional administrative expenses to the Estate and would provide little to no benefit.

DATED: January 7, 2021.



                                                              /s/ Jennifer Black
                                                              Jennifer Black
                                                              Chief Financial Oﬃcer
                                                              Eagle Pressure Control LLC



                                                              /s/ Jennifer Black
                                                              Jennifer Black
                                                              Chief Financial Oﬃcer
                                                              Eagle PCO LLC

                                                              Plan Proponents



                                                              Pendergraft & Simon, LLP

                                                              /s/ William P. Haddock
                                                              Leonard H. Simon
                                                               Texas Bar No. 18387400
                                                               S.D. Tex. Adm. No. 8200
                                                              William P. Haddock
                                                               Texas Bar No. 00793875



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                                             S.D. Tex. Adm. No. 19637
                                            2777 Allen Parkway, Suite 800
                                            Houston, TX 77019
                                            Tel. (713) 528-8555
                                            Fax. (713) 868-1267

                                            Counsel for Plan Proponents




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                                              Exhibit A
                                           Eagle PCO LLC
                                    Chapter 7 Liquidation Analysis
                  Based upon Debtor's Schedules with adjustments for Post-Petition Changes
                                                                                                        Note
ESTIMATED AMOUNTS RELIAZABLE FROM LIQUIDATION OF ASSETS                                                  a

Cash                                                                                   $   274,929.44     b
Accounts Receivable, net                                                                     329,732      c
Inventory                                                                                    280,350      d
Office equipment, including computer equipment                                                 9,293      e
Machinery, equipment and vehicles                                                           3,733,839     e
Real Property                                                                                 815,300     f
Intangibles and Other Property                                                                     10     g

Total Distributable Value                                                              $ 5,443,452.94

less: Liquidation Adjustments
    Ch. 7 Trustee's fee allowed under 11 U.S.C. § 326                 $   186,553.59                      h
    Trustee's Counsel and Related                                             77,528                      i
    Cost to sell real property                                                72,571                      j
    Collateral with no equity surrendered to creditor                       477,405                       k
    Wind-Down Cost                                                          822,290         1,636,347     l

  NET LIQUIDATION PROCEEDS AVAILABLE TO SECURED CLAIMS                                 $ 3,807,105.50


Less Total Secured Claims                                                              $ 3,807,105.50     m
  Proceeds Available to Priority Unsecured Claims                                                 -


Less: Total Priority Unsecured Claims                                                        609,621      n
  Proceeds Available to Unsecured Creditors                                                      -

Less: Total Estimated General, Unsecured Claims
    Allowed Claims per Schedules and Claims Register                  $ 1,536,626.21                      o
    Allowance for undersecured amounts                                      991,351                       p
    Potential unsecured lease rejection claims                              364,500                       q

    Total Estimated General, Unsecured Claims                                          $ 2,892,477.64



Estimated Percentage Payment to General, Unsecured Creditors                                     0.0%




Exhibit A                                               Page 1 of 2                             Liquidation Analysis
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Notes

a. The Liquidation Analysis considers Debtors entering chapter 7 on December 16, 2020. The Liquidation Analysis is based on Debtor
balance sheet and projections as of December 16, 2020, based on the Debtors' business plan. The cessation of business in a liquidation is
likely to trigger certain claims that otherwise would not exist under a Plan absent a liquidation. Examples of these kinds of claims include
various potential employee claims, unpaid chapter 11 administrative claims, and unexpired lease rejection and guarantee claims. Some of
these claims could be significant and may be entitled to priority in payment over general unsecured claims. Some of these claims are
included in the Liquidation Analysis. The Liquidation Analysis does not include estimates for the tax consequences, both federal and state,
that may be triggered upon the liquidation and sale events of assets. Such tax consequences may be material. Finally, the Liquidation
Analysis does not include recoveries resulting from any potential preference, fraudulent transfer, or other litigation or avoidance actions.
b. Cash consist of cash on the books as of the Liquidation Date
c. The analysis of accounts receivable assumes that the Trustee would retain certain existing staff to handle a collection effort for
outstanding trade accounts receivable for the entities undergoing liquidation. Overall recoveries of accounts assumed to range from 35%
to 45% of pro forma projected current balance. Recovery on pro forma accounts receivable balances are assumed to be impacted by the
termination of customer master service agreements and contracts on conversion of Debtor’s chapter 11 cases to a chapter 7 liquidation,
therefore the median 40% was used.
d. All inventory consists of finished goods. Value of Inventory was provided by a third party appraiser Hadco International effective
November 16, 2020, completed November 25, 2020.

e. Value of the Debtor assets, based on values provided by a third party appraiser Hadco International effective November 16, 2020,
completed November 25, 2020.
f. Value assed by the tax appraisal district
g. Intangibles and other property consist of an internet domain name with a net book value of $0 and a current value of debtor's interest
of $10.
h. These are fees that would be payable to the trustee by the Debtor in accordance with the section 326 of the Bankruptcy Code
i. This includes fees and expenses incurred by the Trustee' legal and professional counsel associated with the wind-down of the Debtors'
estates. These fees are estimated to be 1.5% of the total asset recovery value, excluding cash.
j. Cost to sell real property consist of 6% Brokerage fee, 1% title insurance, $10,000 closing cost, $2000 survey, and $3500 Phase 1
environmental Site Assessment
k. Surrender of $370,080 of trucks to Ford Motor Credit and Surrender of $107,325 of Forklifts to De Lage Landen

l. Wind-down expenses deemed necessary to operate the Debtors during the pendency of the Chapter 7 liquidation include $321,500 in
payroll and other benefits for employees who would be needed to help administer the liquidation, $300,000 in insurance and $200,790 in
other operating expenses. Other operating expenses include, among other things, rent, tax expenses, and utilities.
m. Total Secured Claims include secured tax liabilities, secured guarantees, and secured line of credit, less the secured claims where
collateral was surrendered to creditor
n. Represents estimated total post- petition accounts payable and accrued expenses as of the assumed conversion date, inclusive of any
accrued and unpaid professional fees.
o. Detail listed on Schedule C
p. Under secured amount of the secured claims listed in note l
q. Lease rejection claim calculated using the greater of one year, or 15 percent not to exceed three years of the remaining term of the
lease.




Exhibit A                                                          Page 2 of 2                                               Liquidation Analysis
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                                       Exhibit B

                                        2021             2022             2023

Revenue                            $     9,150,000   $   14,100,000   $   14,100,000
EBITDA                             $        12,492   $    2,291,744   $    2,291,744

Disposable Income
EBITDA                             $         12,492 $     2,291,744 $      2,291,744
Change in Working Capital                (1,848,108)            -                -
Debt Service (Existing Class 2)            (591,798)       (558,129)        (314,781)
Maintenance Capital Expenditures           (360,000)     (3,000,000)      (3,000,000)
Disposable Income                  $     (2,787,414) $   (1,266,384) $    (1,023,037)
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                                    Exhibit C
   Summary of General Unsecured Claims & Plan Proponent's Position on Allowance

                                          Claim per Schedules                         Proof of Claim*




                                                          Unliquidated
                                                          Contingent




                                                                                                           Objection
                                                                                                                       Plan Proponent's




                                                          Disputed
                                                                                                                          Position on
                 Creditor                    Amount                          Amount          Date Filed                   Allowance
1189 CR Eagle LLC                          $  34,057.47                                                                $      34,057.47
Absolute Control LLC                          65,860.00                                                                       65,860.00
Acme Truck Line Inc                              696.32                                                                           696.32
Action Specialties LLC                           840.21                                                                           840.21
AirGas                                           467.17                                                                           467.17
Alltex Welding Supply                          5,502.23                                                                         5,502.23
ALS Maverick Testing Laboratories Inc          1,086.00                                                                         1,086.00
American Express                             439,145.65                                                                      439,145.65
APS Payroll                                      770.85                                                                           770.85
ARC Specialties                                  229.12                                                                           229.12
ARI                                            5,911.83                                                                         5,911.83
B&J Welding Supply Ltd                           197.07                                                                           197.07
B&J Wholesale LLC                             12,097.36                                                                       12,097.36
Bestway Oilfield †                           228,976.04                  $   270,976.04       11/18/2020   Obj.              228,976.04
Blaze Sales & Service                         16,715.00                                                                       16,715.00
Brandon Willard                                  120.00                                                                           120.00
C&W Fire and Safety Company Inc                  839.36                                                                           839.36
C&W International Fabricators                 52,201.32                                                                       52,201.32
CenturyLink                                    2,453.87                                                                         2,453.87
Charts Ltd                                       686.64                                                                           686.64
Cintas Corporation no 2                          211.20                                                                           211.20
CM Service Co Inc                              2,470.75                                                                         2,470.75
Commercial Fleet Financing Inc                 1,693.34                                                                         1,693.34
Concentra Medical Centers                         90.50                                                                            90.50
Cranetech-Hoist & Crane Services of Colorado     674.13                                                                           674.13
Darren Hattaway                                   15.66                                                                            15.66
De Lage Landen                                 3,770.89                                                                         3,770.89
Disa Inc                                         422.87                                                                           422.87
Eagle Welding Supply                              77.94                                                                            77.94
Express Supply & Rental LLC                    1,664.26                                                                         1,664.26
Five Star Metals Inc                          36,430.00                                                                       36,430.00
Fox Metals and Alloys, Inc                    10,000.00                                                                       10,000.00
Fullco Machineworks Inc                        4,666.00                                                                         4,666.00
Global Petroleum Rentals LLC                   1,833.00                                                                         1,833.00
Gonzales Lawn Care                               100.00                                                                           100.00
Google LLC                                       852.00                                                                           852.00
Grainger                                         908.54                                                                           908.54
Grant Blake                                         -         DU             300,000.00        12/7/2020   Obj.                      -
Houston Oilfield Equipment                     5,100.00                                                                         5,100.00



Exhibit C                                                   Page 1 of 3                         Summary of General Unsecured Claims
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                                    Claim per Schedules                    Proof of Claim*




                                                  Unliquidated
                                                  Contingent




                                                                                                Objection
                                                                                                            Plan Proponent's




                                                  Disputed
                                                                                                               Position on
                  Creditor           Amount                       Amount          Date Filed                   Allowance
Infinisource Inc                         165.00                                                                        165.00
Insight Direct USA                       111.15                                                                        111.15
J&M Premier Services                   1,600.00                                                                      1,600.00
Joe Eric Cabrera                            -         DU                                                                  -
Kallred Oilfield Services LLC         10,450.23                                                                    10,450.23
Kevin Lee Mirelez                           -         DU                                                                  -
Lawfirm Of Christopher D Montez           30.00                                                                         30.00
Linda Milanovich                            -         DU                                                                  -
Llmh, LLC                             18,700.00                                                                    18,700.00
Lonestar Forklift                      2,068.77                                                                      2,068.77
Madison Hendrix ‡                      4,276.82       DU                                                             4,276.82
Madison Properties, LLC                7,515.93                                                                      7,515.93
Mccoy Water Supply Corporation           109.29                                                                        109.29
Mcmaster-Carr Supply Company             171.42                                                                        171.42
Merricks Pressure Testing, LLC         1,000.00                                                                      1,000.00
Meyer Service Company                198,433.18                                                                   198,433.18
Mid-South Synergy                      2,259.00                                                                      2,259.00
Miguel Carrillo                             -         DU                                                                  -
Mikes Gates LLC                        9,663.27                     9,663.27       11/17/2020                        9,663.27
MineralTree                            1,324.24                                                                      1,324.24
MP Rental & Fishing Services, LLC    104,997.00                                                                   104,997.00
Navasota LP Gas Co Inc                   751.55                                                                        751.55
Neopost                                   73.78                                                                         73.78
New Benefits, Ltd                        400.00                                                                        400.00
Nextiva                                     -                                                                             -
NOBSTERSHOTSHOT                        3,820.00                                                                      3,820.00
Norma Lynn Maldonado                        -         DU                                                                  -
OfficeDepot                               24.36                                                                         24.36
Omar Balboa                                 -         DU                                                                  -
Oracle America Inc                    23,531.70                                                                    23,531.70
Orourke Dist. Co. Inc.                 1,291.28                                                                      1,291.28
OSHA                                  86,900.00                                                                    86,900.00
Permian Machinery Movers Inc           9,135.00                                                                      9,135.00
Porter Hedges LLP                      3,039.52                                                                      3,039.52
Pradon Construction &Trucking Co       2,750.00                                                                      2,750.00
Pt Solutions                           1,503.03                                                                      1,503.03
Pt Solutions Vending                     448.65                                                                        448.65
Quadient/Neopost                          73.78                                                                         73.78
Quench USA, Inc.                      13,503.87                                                                    13,503.87
R&S Oilfield                           4,865.00                                                                      4,865.00
Redifuel                                 266.95                                                                        266.95
Redwing Shoes Of America                 150.00                                                                        150.00
Reliable Pumps Consultants Inc         1,582.71                                                                      1,582.71



Exhibit C                                           Page 2 of 3                      Summary of General Unsecured Claims
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                                              Claim per Schedules                     Proof of Claim*




                                                            Unliquidated
                                                            Contingent




                                                                                                              Objection
                                                                                                                          Plan Proponent's




                                                            Disputed
                                                                                                                             Position on
                 Creditor                      Amount                        Amount          Date Filed                      Allowance
Reliable Specialty Company                       6,575.00                                                                          6,575.00
Republic Services #688                           1,922.16                                                                          1,922.16
Republic Services #859                             286.88                                                                            286.88
Richard A. Fagin                                 2,405.00                                                                          2,405.00
Richard Carson                                     250.00                                                                            250.00
RL Energy Solutions LLC                            640.50                                                                            640.50
Rushing Machine Shop                               320.00                                                                            320.00
S and M Cranes LLC                               4,950.00                                                                          4,950.00
Safety Solutions LLC                               666.75                                                                            666.75
Safety-Kleen Systems Inc                         1,159.68                                                                          1,159.68
SAFOCO                                          21,200.00                                                                        21,200.00
Saia MotorFreight Line LLC                         719.17                                                                            719.17
Salt And Light Energy Equipment LLC              5,963.00                                                                          5,963.00
Schwegman Lundberg & Woessner PA                 8,042.94                                                                          8,042.94
ServicePlus LLC                                  6,384.45                      6,384.45       11/20/2020                           6,384.45
Sherwin-Williams                                   327.35                                                                            327.35
Shieldfire & Suppression                           342.07                                                                            342.07
Stuarthose & Pipeco                                561.10                                                                            561.10
Team Ford Of Navasota                              291.65                                                                            291.65
Texas Flange & Fitting Supply Inc                2,137.12                                                                          2,137.12
Trio Equip Rental & Services LLC                 3,200.00                                                                          3,200.00
United Vision Logistics                          2,710.00                      2,710.00       11/23/2020                           2,710.00
UPS                                                 51.33                                                                             51.33
V&H Oilfield Inc                                 3,086.75                                                                          3,086.75
VTX Communications                                  85.00                                                                             85.00
Watsco Supplies Inc                                787.82                                                                            787.82
Wood Smith Henning & Berman, LLP                10,000.00                                                                        10,000.00
Xerox Business Solutions Southwest                 373.79                                                                            373.79

                                                                            Total Allowed General Unsecured Claims $         1,542,260.58




Notes
* Reflects claims filed as of December 31, 2020 at 5:00 p.m. CST. These amounts are subject to change as the claims deadline for filing
claims is March 8, 2021, and the deadlien for claims by governmental units is May 10, 2021.
† The total amount due to Bestway Oilfield should be $270,976.04; however $42,000, is potentially a secured claim and is treated as
such in Class 2G
‡ The first $4,276.82 of this claim is for unpaid wages that had accrued at the time of the employee's death and is liquidated and not
subject to dispute. Any additional claim is unliquidated and disputed.




Exhibit C                                                     Page 3 of 3                       Summary of General Unsecured Claims
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                                     Exhibit D
                    Summary of Ford Motor Credit Secured Claims

                                                                              Plan Proponent's
          Asset/Collateral      Claim per              Proof of Claim            Position on
                VIN            Schedule D        Claim no.      Amount           Allowance
       1FT7W2BT3KEC51620                                 1 $      35,619.77
       1FT7W2BT4KED63648                                 2        46,722.41
       1FT7W2BT5KEC23043                                 3        42,939.17
       1FT7W2BT0KEC87555                                 4        34,875.87
       1FT7W2BT5JEC78266                                 5        30,964.96
       1FTEW1E51JKD42738                                 6        21,871.38
       1FT7W2BT1HEF34266                                 7        22,306.16
       1FT7W2BT3JEB59504                                 8        23,744.95
       1FT7W2BT1KEC89699                                 9        39,449.25
       1FT7W2BT3KEC62598                                10        40,973.73
       1FT7W2BT3KEC89686                                11        40,139.59
       1FT7W2BT0KED63646                                12        44,474.80
       1FT7W2BT1KEC89704                                15        39,401.05
       1FT7W2BT1KEC89685                                16        35,267.57
       1FTEW1E42KKD44944                                17        37,955.19
       1FT7W2BT7KEF39530                                18        49,277.20
       1FTEW1E43KKD81579                                19        43,203.80
       1FT7W2BT3KEC07410                                20        55,361.78
       1FT7W2BT1GEC82307                                21        11,904.95
       1FT7W2BT4KEC89700                                22        37,920.01
       1FT7W2BT2KEC89677                                23        38,105.34
       1FT7W2BT3KEC89705                                24        37,566.31
       1FT7W2BT0KEC89676                                25        38,176.55
       1FT7W2BT3KEC55442                                26        37,561.90
       1FT7W2BT4KEC89695                                27        37,561.90
       1FT7W2BT9KEC44896                                28        36,400.02
       1FT7W2BT2KEC55433                                29        40,139.59
       1FT7W2BT2KEC62611                                30        41,270.98
       1FT7W2BT6KED63649                                31        44,436.15
       1FT7W2BT2KEC89680                                32        40,139.59

                              $ 1,392,788.93               $ 1,125,731.92     $ 1,125,731.92




Exhibit D                                   Page 1 of 1                Ford Motor Credit Secured Claims
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Exhibit E                                                                       Letter of Intent
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   19




 Mike Clark
 CEO
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                                                 Exhibit F
                                        Master Service Agreements


            Company                                                                Date Executed

            Ageron Energy, LLC and U.S. Enercorp, Ltd                              3/3/20
            Alchemist Energy, LLC                                                  9/4/20
            Allegiant Resources, LLC                                               10/2/19
            Alliance Energy Services, LLC                                          10/16/18
            Alta Mesa Services, LP; Oklahoma Energy Acquisitions, LP; Petro        2/23/16
            Operating Company, LP; The Meridian Resource & Exploration, LLC;
            and Northwest Gas Processing, LLC
            Amerrill Energy, LLC                                                   2/22/13
            Anadarko Petroleum Company and its Affiliate Companies                 1/31/2012, amended
                                                                                   to Eagle PCO LLC
                                                                                   10/23/19
            Anchor Energy Solutions                                                3/6/19
            Apache Corporation                                                     5/29/18
            Apollo Energy Operating Company, LP                                    1/13/12
            Armor Energy LLC                                                       1/29/19
            BBL Operating Company, LLC                                             10/30/18
            BBX Operating, LLC                                                     1/14/15
            Beacon E&P Resources, LLC                                              10/14/19
            Birch Operations, Inc.                                                 1/23/19
            Blue Fin Services, LLC                                                 1/30/20
            Brammer Engineering, Inc.                                              10/17/12
            Brazos River Exploration                                               11/18/20
            Buffco Production Inc.                                                 9/19/13
            Capital Star Oil & Gas, Inc.                                           12/6/18
            CCI East Texas Upstream LLC                                            11/1/18
            Centennial Resource Production LLC and its subsidiaries and            1/18/19
            affiliatesEnergy, LLC
            Centex                                                                 5/31/16
            CH4 Energy II, LLC                                                     7/10/14
            CH4 Energy Six, LLC                                                    9/19/19
            Cinco Natural Resources                                                10/10/19
            CML Exploration, LLC                                                   10/26/12
            Colgate Operating, LLC                                                 1/24/19
            Comstock Resources, Inc.; Comstock Oil & Gas, LLC; Comstock Oil &      8/10/20
            Gas-Louisiana, LLC
            Crimson Exploration Operating, Inc. and its affiliiates and Contango   7/1/20
            Resources
            Covey ParkInc.
                        Energy LLC                                                 1/25/18
            Cox Operating, LLC                                                     1/28/19
            Creative Oil & Gas Operating, LLC                                      3/21/19


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            Crimson Energy Partners IV, LLC                                     12/17/18
            Crimson Exploration Operating, Inc.                                 4/5/19
            Davis Southern Operating Company, LLC                               6/26/14
            Denbury Onshore LLC                                                 11/12/18
            Devon Energy Production Company, LP; Devon Gas Services, LP;        1/24/2011, amended
            Southwestern Gas Pipeline, Inc.; Acacia Natural Gas Corporation     to Eagle 8/26/19
            Diamondback E&P LLC                                                 7/29/19
            Discovery Natural Resources LLC                                     12/23/19
            E & B Natural Resources Corporation                                 3/14/16
            Oak Valley Operating LLC                                            9/18/13
            Eclipse Resources-PA, LP                                            4/25/19
            Eclipse Resources I, LP                                             4/25/19
            Energy & Exploration Partners Operating, L.P.                       11/8/12
            EnerVest Operating, LLC (assigned to Magnolia Oil & Gas Operating   3/21/18
            LLC on 7/1/19)
            Ensight IV Energy Management, LLC                                   9/23/19

            ENXL, LLC                                                           4/7/18
            EOG Resources, Inc.                                                 3/7/18
            EP Energy E&P Company, LP                                           9/4/18
            ETX Energy, LLC                                                     10/4/18
            Evolution Operating Company                                         11/2/10
            E-Z Flowback Services, Inc.                                         3/15/19
            Forest Oil Corporation                                              10/1/09
            Frac Tech Services, LLC                                             5/31/11
            Freedom Production, Inc.                                            8/12/19
            Geophysical Technology, Inc.                                        2/1/16
            GeoSouthern Energy Corporation                                      8/10/10
            GEP Haynesville, LLC                                                3/7/19

            Geostock Sandia, LLC                                                2/5/19
            Halcon Operating Co., Inc.                                          7/24/12
            Hibbard Energy, LP                                                  9/12/19
            Hilcorp Energy Company                                              5/7/18
            Hillwood Oil & Gas Operating Company, LP                            3/7/12
            Impetro Operating, LLC                                              3/25/19
            Indigo Minerals, LLC                                                11/28/18
            Interstate Explorations LLC                                         1/6/16
            Kinder Morgan Contracting Services LLC                              6/27/18
            KJE Oil & Gas LLC                                                   9/5/19
            Knight Resources, Inc.                                              8/20/10
            Krescent Energy Company, LLC                                        8/30/10



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            Laredo Energy Operating, LLC                                         2/14/19
            Legacy Reserves Operating LP                                         1/15/20
            Leor Exploration, LLC                                                3/10/2011, amended
                                                                                 3/9/16 for
                                                                                 termination date
            Linn Operating, Inc.                                                 10/30/15
            Lonquist & Co., LLC; Lonquist Field Service, LLC; Lonquist & Co.     2/9/18
            (Canada) ULC; Lonquist Field Service (Canada) ULC
            Lonestar Resources, Inc.                                             10/28/19
            Luxe Operating LLC                                                   7/12/18
            M.P. Rentals and Fishing Services LLC                                1/25/19
            Magnolia Oil & Gas Operating LLC (assignment of Enervest Operating   7/1/19
            LLC)
            Marathon  Oil Company                                                7/1/19
            Matador Production Company                                           9/4/18
            MD America Energy, LLC                                               1/15/16
            Memorial Resource Development LLC                                    7/19/13
            Momentum Energy Services, LLC                                        3/11/19

            Nadel and Gussman, LLC                                               12/19/19

            Natural Gas Pipeline of America, LLC                                 6/28/18

            Navidad Operating Company, LLC                                       8/18/19
            New Century Operating, LLC                                           11/18/16
            Northfield Enterprises, Inc.                                         11/1/13
            Oak Valley Operating, LLC                                            9/18/13
            Oak Energy, LLC                                                      10/29/20
            ORX Resources, LLC                                                   5/3/18
            Pardus Oil & Gas Operating, LP                                       10/12/18
            PDC Energy, Inc.                                                     3/27/19
            Petrodome Operating, LLC                                             5/3/11
            PetroEdge Operating LLC                                              1/7/14
            Pine Wave Energy Partners Operating, LLC                             12/30/19
            Presco, Inc. dba Texas Presco, Inc.                                  7/30/15
            Pride Energy Company, an Oklahoma General Partnership                7/9/12
            Relentless Permian Operating LLC                                     10/17/18
            RG Exploration LLC                                                   5/30/19
            Riley Permian Operating Company, LLC                                 9/28/20
            Rosewood Resources, Inc.                                             6/18/15
            Rovig Minerals, Inc.                                                 3/4/19
            Rutherford Oil Corporation                                           7/11/18
            Sabalo Operating, LLC                                                9/17/14


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            SEA Eagle Ford LLC, c/o Sundance Energy, Inc.                             5/24/19
            Seidler Oil & Gas Operating, LLC                                          11/11/13
            Silver Creek Permian Operating Company, LLC                               3/25/19
            SWEPI LP, (Shell)                                                         2/12/20
            SND Operating LLC                                                         10/25/18
            Southern Bay Operating, LLC                                               1/26/12
            Spindletop Oil & Gas Co.                                                  7/18/16
            Strata Scout Drilling, LLC                                                1/6/16
            Strategic Oilfield Services, Inc.                                         9/19/16
            Sydri Operating, LLC                                                      11/5/20
            Tanos Exploration II, LLC                                                 5/9/19
            Tetra Technologies Inc.                                                   10/5/20
            Texas Petroleum Investment Company                                        7/27/18
            Texegy Operating Company LLC                                              3/10/17
            Torrent Oil LLC                                                           9/10/18
            Treadstone Energy Partners Operating, LLC                                 10/29/18
            Triad Hunter, LLC                                                         4/25/19
            Unit Corporation and each of its directly and indirectly owned            3/27/19
            subsidiaries, including, but not limited to, Unit Petroleum Company
            and Unit Drilling Company, and an future direct or indirect
            subsidiaries of Unit Corporation

            Venado Oil & Gas LLC                                                      3/12/19
            Verdun Oil & Gas LLC                                                      2/19/19
            WCS Oil & Gas Corporation                                                 4/9/18
            W&T Offshore, Inc.                                                        9/11/19
            Seaboard International, Inc. dba Weir Seaboard                            10/23/15
            WildHorse Resources Management Company, LLC                               11/28/16
            XTO Energy Inc. and its affiliates, Barnett Gathering, LLC; English Bay   7/29/19
            Pipeline LLC; Fayetteville Gathering Company; Mountain Gathering,
            LLC; Nesson Gathering System LLC; Ringwood Gathering Company ;
            Trend Gathering & Treating, LLC; and Timberland Gathering &
            Processing Company LLC

            Zarvona Energy LLC                                                        1/28/19




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